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                       UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 PATHWAY IP LLC,                                   )
                                                   )      Case No. 1:24-cv-5218
         Plaintiff,                                )
                                                   )      Judge: Hon. Franklin U. Valderrama
 v.                                                )
                                                   )      Magistrate Judge Jeffrey T. Gilbert.
 The Individuals, Corporations, Limited            )
 Liability Companies, Partnerships, and            )      JURY TRIAL DEMANDED
 Unincorporated Associations Identified on the     )
 Attached Schedule A                               )
                                                   )
         Defendants.                               )


             DEFENDANTS’ MOTION FOR LEAVE TO FILE UNDER SEAL

        Defendants iphotoxx, Lixinshunyi, Photo Guard, RUIHOTOR, catchpiccus, HiFocusiUS,

QiHuichang, ShiQiaoShang, VividNWUS, XingBoom, XuanXiuUS, Jinsnow, and ShutterLight

(collectively, “Moving Defendants”), respectfully move this Court to file under seal Moving

Defendants’ Answer, Affirmative Defenses and Counterclaims, and Moving Defendants’

Emergency Motion to Dissolve or Modify the Ex Parte Temporary Restraining Order, and

accompanying exhibits.

        Local Rule 26.2 provides that the Court may determine that a particular document or

exhibit merits restricted status before any party may file such materials under seal. See See LR

26.2. The Court restricts access to a document only for “good cause shown.” See LR 26(b).

In support of its Motion for Leave to File Under seal, Moving Defendants state as follows:

        1)     Moving Defendants seek to seal information related to Plaintiff’s patent because

Plaintiff filed its Verified Complaint under seal redacting this information; and
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       2)     Moving Defendants further seek to seal information related to its percentage of

sales of the accused products because that information is highly confidential and attorney-eyes

only. The public disclosure of that information may be potentially harmful to the Moving

Defendant’s businesses.

       WHEREFORE, Moving Defendants respectfully request that the Court grant its Motion

for Leave to Filed Under Seal, in order to permit Moving Defendants to file under seal Moving

Defendants’ Answer, Affirmative Defenses and Counterclaims, and Moving Defendants’

Emergency Motion to Dissolve or Modify the Ex Parte Temporary Restraining Order, and

accompanying exhibits.

                                               Respectfully submitted,

Dated: July 15, 2024                           /s/ Jacqueline Brousseau
                                               Jacqueline Brousseau
                                               Greenberg Traurig, LLP
                                               77 West Wacker Drive, Suite 3100
                                               Chicago, IL 60601
                                               Telephone: (312) 456-8400
                                               Jacqueline.brousseau@gtlaw.com

                                               Jonathan D. Ball (pro hac vice forthcoming)
                                               Giancarlo L. Scaccia (pro hac vice forthcoming)
                                               Greenberg Traurig, LLP
                                               One Vanderbilt Avenue
                                               New York, New York 10017
                                               Telephone: (212) 801-9200
                                               ballj@gtlaw.com
                                               scacciag@gtlaw.com
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                               CERTIFICATE OF SERVICE

       I hereby certify that on the date set forth below, I electronically filed the foregoing
MOTION FOR LEAVE TO FILE UNDER SEAL with the Clerk of Court using the CM/ECF
system, which will send notification of such filings to all counsel of record.


Dated: July 15, 2024                /s/ Jacqueline Brousseau




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